        Case 1:21-cv-02130-CJN Document 45-2 Filed 12/22/21 Page 1 of 3




                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

 US DOMINION, INC., et al.,

        Plaintiffs,

            v.
                                                          No. 1:21-cv-02130-CJN
 HERRING NETWORKS, INC., et al.,
                                                          Judge Carl J. Nichols
        Defendants.




   DECLARATION OF KATHERINE PEASLEE IN SUPPORT OF DOMINION’S
  OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS, STAY, OR TRANSFER

       I, Katherine Peaslee, make this declaration pursuant to 28 U.S.C. § 1746. I hereby declare

under penalty of perjury that the following is true and correct:

       1.        I am an attorney at Susman Godfrey LLP and counsel for Plaintiff US Dominion,

Inc, Dominion Voting Systems, Inc., and Dominion Voting Systems Corporation (together,

“Dominion”) in this action.

       2.        Attached as Exhibit 1 is a true and correct highlighted copy of the Motion for Leave

to File Amicus Curiae Brief of One America News Network in Opposition to Plaintiffs’ Motions

for a Temporary Restraining Order and Preliminary Injunction, filed in Cable News Netword, Inc.

v. Donald J. Trump, Case No. 1:18-cv-02610-TJK, at ECF No. 18 on November 15, 2018. Pursuant

to the Court’s Standing Order § 8(b), highlighting has been added to direct the Court’s attention to

the most relevant material.

       3.        Attached as Exhibit 2 is a true and correct copy of the Complaint and Demand for

Jury Trial filed in Smartmatic USA Corp., v. Herring Networks, Inc., d/b/a One America News

Network, Case No. 21-cv-02900, at ECF No. 1, dated November 3, 2021.

       4.        Attached as Exhibit 3 is a true and correct highlighted copy of the Declaration of
Charles Herring in Support of Plaintiff’s Opposition to AT&T Inc.’s Motion to Dismiss Complaint

                                                  1
         Case 1:21-cv-02130-CJN Document 45-2 Filed 12/22/21 Page 2 of 3




for Lack of Personal Jurisdiction, filed in Herring Networks, Inc. v. AT&T Services, Inc., Case No.

16-cv-01636-CAS-AGR, at ECF No. 35, dated May 23, 2016. Pursuant to the Court’s Standing

Order § 8(b), highlighting has been added to direct the Court’s attention to the most relevant

material.

       5.      Attached as Exhibit 4 is a true and correct copy of the public LinkedIn profile of

Alexander Bruesewitz, which I printed to PDF using the software program Adobe Acrobat from

the page I accessed by directing my web browser to URL https://www.linkedin.com/in/alexander-

bruesewitz-671a61142?trk=people-guest_people_search-card, on December 22, 2021. I did not

alter or change any material part of the content appearing at the above URL in the process of

generating the document labeled as Exhibit 4.

       6.      Attached as Exhibit 5 is a true and correct copy of the public LinkedIn profile of

Stephanie Hamill, which I printed to PDF using the software program Adobe Acrobat from the

page I accessed by directing my web browser to URL https://www.linkedin.com/in/stephanie-

hamill-47b59684, on December 22, 2021. I did not alter or change any material part of the content

appearing at the above URL in the process of generating the document labeled as Exhibit 5.

       7.      Attached as Exhibit 6 is a true and correct highlighted copy of an excerpt of the

Brief of One America News Network as Amicus Curiae Opposing Plaintiffs’ Motions for a

Temporary Restraining Order and Preliminary Injunction, filed in Cable News Network, Inc. v.
Donald J. Trump, Case No. 18-cv-02610-TJK, at ECF No. 18-1, dated November 15, 2018.

Pursuant to the Court’s Standing Order § 8(b), highlighting has been added to direct the Court’s

attention to the most relevant material.

       I declare under penalty of perjury that the foregoing is true and correct.


  Dated: December 22, 2021,
  Executed at Seattle, Washington
                                                     Respectfully submitted,

                                                     /s/ Katherine Peaslee
                                                     Katherine Peaslee

                                                 2
        Case 1:21-cv-02130-CJN Document 45-2 Filed 12/22/21 Page 3 of 3




                                CERTIFICATE OF SERVICE

       I hereby certify that on this 22nd day of December 2021, I electronically filed the

foregoing document with the Clerk of the Court using the CM/ECF system.


                                                    /s/ Stephen Shackelford
                                                    Stephen Shackelford




                                                3
